                                                     April 29, 2025


Via ECF; Courtesy Copy Via Email

Hon. Naomi Reice Buchwald
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., New York, NY 10007-1312

       Re:     Chung v. Trump, et al., No. 25-cv-2412 (NRB)

Dear Judge Buchwald:

       On behalf of Plaintiff-Petitioner Yunseo Chung, we write pursuant to Rule 2(C)(1) of the
Court’s Individual Practices to briefly summarize the substantive arguments in our opposition to
Defendants-Respondents’ (“Defendants”) motion to dismiss, filed on April 11, 2025.

I.     Background

        Ms. Chung, a 21-year-old lawful permanent resident and junior at Columbia University,
faces arrest and detention by the U.S. government because of her protected speech, pursuant to
Defendants’ policy of targeting noncitizen students and academics across the country for actual or
perceived speech in favor of Palestinian human rights or criticizing the Israeli government’s
military campaign in Gaza or U.S. support for that campaign.

        Since Ms. Chung filed her complaint, Defendants have continued their unconstitutional
policy of targeting noncitizens for such speech. Hours after this Court issued a temporary
restraining order preventing Ms. Chung’s arrest and detention, ICE agents arrested Rümeysa
Öztürk, a Tufts University doctoral student, for co-authoring an op-ed in a student newspaper about
the university administration’s response to student senate resolutions concerning Palestine and
divestment from Israel. ICE whisked Ms. Öztürk across several states to Louisiana where she has
been detained since. And on April 14, 2025, ICE agents arrested Mohsen Mahdawi, a U.S.
permanent resident of Palestinian descent, in Vermont after he completed his citizenship interview.
The government has invoked the same grounds of removability against Mr. Mahdawi as it has
against Ms. Chung. Meanwhile, the minor charges against Ms. Chung flowing from her March 5,
2025 arrest have been dismissed, and she is in good standing at Columbia University. Nevertheless,
Defendants have moved to dismiss her complaint.

II.    Argument

        Defendants do not contest the merits of Ms. Chung’s claims. Instead, they argue broadly
that the Immigration and Nationality Act (“INA”) altogether bars the Court from reviewing her
claims. The INA framework for judicial review provided in 8 U.S.C. § 1252 channels certain
claims into an administrative process and petition for review—but not all claims, and certainly not
Ms. Chung’s.
        First, 8 U.S.C. § 1252(g), which bars review of any discretionary “decision or action by
the Attorney General to commence proceedings, adjudicate cases, or execute removal orders,”
applies only to Defendants’ decisions regarding these “three discrete actions.” Reno v. AADC, 525
U.S. 471, 482 (1999). None of Ms. Chung’s claims challenges a discretionary decision to
commence proceedings, adjudicate her case, or execute a removal order, but rather challenge
actions relating to a determination by the Secretary of State, part of a different executive branch
agency uninvolved in commencing proceedings. To the extent any of her claims are construed to
somehow relate to a decision to commence proceedings, Ms. Chung challenges the government’s
legal authority to engage in unlawful and unconstitutional conduct, not any discretionary decision,
taking her claims outside 1252(g)’s scope. Even if 1252(g) does apply, the conduct Ms. Chung
challenges is so “outrageous” that it falls into the 1252(g) exception recognized by the Second
Circuit. See Ragbir v. Homan, 923 F.3d 53, 78 (2d Cir. 2019), cert. granted, judgment vacated sub
nom. Pham v. Ragbir, 141 S. Ct. 227 (2020). And, Ms. Chung’s claims are also protected under
the Suspension Clause.

       Sections 1252(a)(5) and (b)(9) likewise pose no obstacle. Section 1252(b)(9) does not bar
review of any claims but rather channels judicial review of certain issues to the Petition for Review
(“PFR”) stage. However, as the Supreme Court has repeatedly emphasized, the provision is
narrow: where its application would make claims “effectively unreviewable”— because review is
impossible in removal proceedings before the agency or on Petition for Review—it has no
application. Ms. Chung does not challenge a removal order (none exists), nor issues adjudicated
in removal proceedings on which the validity of the removal order depends. As such, her claims
do not “arise from” the removal process within the meaning of these provisions. Ms. Chung’s
claims do not arise from removal proceedings (which have not commenced here), cannot be
adjudicated by the immigration judge or Board of Immigration Appeals, and cannot be
meaningfully reviewed through the PFR process.

        The other “defects” Defendants raise lack merit. Ms. Chung is in custody and can invoke
habeas relief under 28 U.S.C. § 2241 because ICE seeks to imminently detain her and would do
so but for this Court’s continued intervention. See Ragbir, 923 F.3d at 74–76. She does not have
an adequate alternative remedy because her claims cannot be reviewed through the PFR process,
and the INA does not preclude judicial review of her claims. And the political question doctrine,
a narrow exception to courts’ presumptive exercise of jurisdiction, Zivotofsky v. Clinton, 566
U.S. 189, 195 (2012), cannot be wielded to defeat judicial review of Defendants’ plainly
unconstitutional conduct. That the INA provision invoked by Secretary Rubio against Ms. Chung
mentions foreign policy does not somehow render her claims unreviewable or “beyond judicial
cognizance.” Baker v. Carr, 369 U.S. 186, 211 (1962). There is nothing novel, unusual, or
nonjusticiable about Ms. Chung’s First Amendment, Due Process, and other claims, and the
Court can apply well-established principles to adjudicate them.

       For these reasons, and as set forth in greater detail in Ms. Chung’s memorandum of law in
opposition, the Court should deny Defendants’ motion to dismiss this action.




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